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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SCOTT C. DOREY,

                        Plaintiff,

        v.                                                    Case No. 17-cv-8674

 LARBY S. AMIROUCHE and RYAN                                  Honorable Andrea R. Wood
 EAGLE,
                                                               JURY TRIAL DEMANDED
                        Defendants.


                                     JOINT STATUS REPORT

       Pursuant to the Court’s order dated March 22, 2018 (Dkt. No. 23), Plaintiff Scott C. Dorey

and Defendant Larby S. Amirouche (“Amirouche”), through their undersigned counsel,

respectfully submit this Joint Status Report.

1.     Nature of the Case

       A.      Identify the attorneys of record for each party, including the lead trial
               attorney.

        Plaintiff Scott C. Dorey                        Defendant Larby S. Amirouche

        Timothy A. Hudson (Lead Trial Attorney)         Michael D. Haeberle (Lead Trial Attorney)
        Melody L. Gaal                                  Jefferey O. Katz
        Tabet DiVito & Rothstein, LLC                   Patterson Law Firm, LLC

       B.      Identify any parties that have not yet been served.

                       Ryan Eagle has not yet been served.

       C.      State the basis for Federal jurisdiction.

                       This Court has subject matter jurisdiction over Plaintiff’s claims pursuant
               to 28 U.S.C. § 1332(a)(2), as the matter in controversy exceeds $75,000 (exclusive
               of interest and costs) and this lawsuit is between citizens of a state and a subject of
               a foreign state. In addition, this Court has federal question jurisdiction under 28
               U.S.C. § 1331 because this action alleges violation of the Computer Fraud and
               Abuse Act, 18 U.S.C. § 1030.


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             If jurisdiction over any claims is based on diversity or supplemental
             jurisdiction:

            i.      State whether and, if so, why the amount in controversy exceeds the
                    jurisdictional threshold; and

                            Plaintiff seeks compensatory and punitive damages in excess of the
                    jurisdictional threshold of $75,000, exclusive of interest and costs.

           ii.      Identify the state of citizenship of each named party.

                            Plaintiff Scott C. Dorey is a Canadian citizen and resides in
                    Vancouver, Canada. Defendant Amirouche is a citizen of the state of
                    Illinois and resides in this judicial district. Defendant Ryan Eagle is a
                    citizen of the state of Illinois and resides in this judicial district.

      D.     Describe generally the nature of the claims asserted in the complaint, any
             counterclaims, and the relief sought.

                      This is an action for defamation per se (Counts I and II), defamation per
             quad (in the alternative) (Count III), intentional infliction of emotional distress
             (Count V), and violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030,
             et. seq. (the “CFAA”) (Count IV). Plaintiff seeks an order that Defendants remove
             all defamatory and disparaging material relating to Plaintiff from the internet, as
             well as statutory damages under the CFAA, compensatory damages, and punitive
             damages. Neither Defendant has asserted any counterclaims at this time.

      E.     State the major legal and factual issues in the case.

                     Plaintiff alleges that Defendants disseminated false and defamatory
             statements to third parties via the internet and email, accessed Plaintiff’s contacts
             from his computer and/or cell phone, and established false social media accounts
             in Plaintiff’s name, without authorization or consent. Plaintiff alleges that such
             conduct constitutes defamation per se or, in the alternative, defamation per quad,
             and violates the CFAA. Plaintiff further alleges that Defendants intentionally
             caused Plaintiff to suffer severe emotional distress by disseminating the above
             statements and threatening to continue making defamatory statements unless
             Plaintiff paid Defendants money. Neither Defendant has filed a responsive
             pleading to Plaintiff’s Complaint.

2.    Mandatory Initial Discovery Pilot Project.

      A.     Confirm that all of the parties have read and discussed the Standing Order
             Regarding Mandatory Initial Discovery Pilot Project.

                    Plaintiff and Defendant Amirouche have read and discussed the Standing
             Order regarding the Mandatory Initial Discovery Pilot Project. Defendant Ryan
             Eagle has not been served and, on information and belief, has not retained counsel.
             Accordingly, the undersigned counsel does not believe Ryan Eagle has received the

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             Standing Order.

      B.     State the due dates for each party’s mandatory initial discovery response and
             disclosure of electronically stored information.

                     Amirouche has sought an extension of time, to April 25, 2018, to answer or
             otherwise plead. (Dkt. No. 23.) Defendant Ryan Eagle has not been served, and
             Plaintiff’s deadline to effect service of summons and complaint on him has been
             extended to April 25, 2018. (Id.) Thus, as of the filing of this Joint Status Report,
             neither party’s initial discovery response is due, as neither Defendant has filed a
             responsive pleading to the Complaint. See Standing Order Regarding the
             Mandatory Initial Discovery Pilot Project (party seeking affirmative relief must
             serve initial discovery responses within 30 days after first responsive pleading is
             filed; defendant must serve its initial discovery responses 30 days after it files its
             responsive pleading).

      C.     Describe the parties’ discussions regarding the mandatory initial discovery
             responses.

                    Not Applicable.

3.    Case Plan

      A.     Identify all pending motions.

                    There are no pending motions at this time.

      B.     State whether any defendant anticipates responding to the complaint by
             motion and, if so, the basis for the intended motion.

                    Defendant Amirouche does not anticipate responding to the complaint by
             motion.

      C.     Submit a proposed discovery plan, including the following information:

            i.      The general type of discovery needed;

                            Plaintiff anticipates seeking documents and data that will include (1)
                    electronic mail and text messages related to the allegations of this case; (2)
                    contracts and other documents relating to the relationship between Plaintiff
                    and Defendants (3) records of all statements made by Defendants (online or
                    otherwise) referring or relating to Plaintiff or Plaintiff’s family or business,
                    (4) records describing or disclosing Plaintiff’s business or personal contacts
                    in Defendants’ possession; and (5) records reflecting all social media
                    accounts created and/or or maintained by Defendants.

                            Defendant Amirouche intends to seek discovery from Plaintiff and
                    third-parties on the following subjects, among others: Plaintiff’s reputation
                    and any harm done to the Plaintiff’s reputation (including other litigation in

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              which the Plaintiff has been involved, other business dealings of Plaintiff,
              and communications regarding the same); Plaintiff’s claim of damages
              (including Plaintiff’s financial condition, representations made concerning
              Plaintiff’s financial condition before and after the allegedly-defamatory
              statements, and opportunities allegedly lost as a result of Defendants’
              actions, including statements made in other litigation regarding Plaintiff’s
              financial condition); Plaintiff’s communications with third parties regarding
              the business in which Plaintiff and Defendant Amirouche participated,
              Defendant Amirouche’s actions in this business, Plaintiff’s opportunities
              that were allegedly lost, and Plaintiff’s financial state; and the truth of the
              statements alleged by Plaintiff.

      ii.     Whether discovery will encompass electronically stored information
              (ESI) and any anticipated issues regarding disclosure or discovery of
              ESI, including the form or forms in which it should be produced;

                     Plaintiff and Defendant Amirouche anticipate that discovery will
              encompass ESI. The undersigned do not anticipate any ESI disputes at this
              time. They agree to promptly meet and confer in a good faith effort to
              resolve any ESI disputes that may arise.

     iii.     Any issues about claims of privilege or protection as trial-preparation
              materials, including—if the parties agree on a procedure to assert these
              claims after production—whether to ask the court to include their
              agreement in an order;

                     Plaintiff and Defendant Amirouche do not anticipate any issues
              about claims of privilege or protection at this time. Plaintiff and Defendant
              Amirouche agree to promptly meet and confer in a good faith effort to
              resolve any privilege disputes that may arise.

      iv.     For cases not included in the Mandatory Initial Discovery Pilot Project,
              the date on which Rule 26(a)(1) disclosures will be made;

                     Not Applicable.

      v.      The date by which the parties will complete fact discovery;

                     October 10, 2018.

      vi.     Whether expert discovery is contemplated and, if so, dates by which
              Rule 26(a)(2) disclosures will be made and expert depositions
              completed;

                     Expert discovery is anticipated. Plaintiff is to disclose his experts
              by November 10, 2018. Plaintiff’s experts shall be deposed by December
              10, 2018. Defendant is to disclose his expert by December 30, 2018.
              Defendant’s experts are to be deposed by January 20, 2019. Any experts
              on any counterclaim filed by Defendant shall follow the above schedule,

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                      except that Defendant is to follow the dates set for the Plaintiff on experts
                      disclosed for the counterclaim, and Plaintiff is to follow the dates set for
                      Defendant on experts disclosed for the counterclaim.

           vii.       What changes, if any, should be made in the limitations on discovery
                      imposed under Federal Rules of Civil Procedure or by the Local Rules,
                      such as changes in the number of depositions or interrogatories
                      permitted;

                              The undersigned do not anticipate any need for changes to the
                      limitations on discovery imposed under the Federal rules or the Local Rules.
                      The parties reserve their right to request any change to the discovery rules
                      as the need arises. The parties further agree to promptly meet and confer
                      concerning any change to the rules before seeking relief from the Court.

           viii.      For cases included in the Mandatory Initial Discovery Pilot Project, the
                      final date by which parties may supplement their mandatory initial
                      discovery responses; and

                              October 10, 2018.

            ix.       The date by which the parties may file any dispositive motions.

                              February 15, 2019.

      D.       State whether there has been a jury demand and the estimated length of the
               trial.

                      Plaintiff has demanded a jury. The undersigned expect trial to last 5-7 days.

4.    Settlement

      A.       State whether any settlement discussions have occurred and describe the
               status of any such discussions.

                      The parties have reached a settlement in principle and plan to execute a final
               settlement agreement in advance of the upcoming April 25th status hearing.

      B.       State whether the parties believe that a settlement conference would be
               productive at this time.

                        The parties do not believe that a settlement conference would be productive
               at this time.




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5.     Consent to Proceed Before a Magistrate Judge

              Counsel have informed their respective clients about the possibility of proceeding
       before the assigned Magistrate Judge. Plaintiff and Defendant Amirouche consent to
       proceed before a Magistrate Judge for discovery purposes only.



Dated: April 18, 2018

 By: /s/ Timothy A. Hudson                         By: /s/ Michael D. Haeberle
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